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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header" data-refglobal="case:reamanvbrookhartno23sc823july22,2024"&gt;&lt;p class="ldml-metadata"&gt;
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 &lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Mark Reaman&lt;/span&gt;&lt;/span&gt;, in his capacity as &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;editor of the Crested Butte News&lt;/span&gt;, &lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;/&lt;span class="ldml-role"&gt;Cross-Respondent&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;b class="ldml-bold"&gt; v. &lt;/b&gt;&lt;b class="ldml-bold"&gt; &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Andrew Brookhart&lt;/span&gt;&lt;/span&gt;, in his official capacity as the &lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;executive director and custodian of records of the Gunnison County Library District. Respondent/&lt;/span&gt;&lt;span class="ldml-role"&gt;Cross-Petitioner&lt;/span&gt;&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;No. 23SC823&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;, En Banc&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;July 22, 2024&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;
&lt;div class="ldml-casehistory"&gt;&lt;p data-paragraph-id="335" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="335" data-sentence-id="352" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Court
 of Appeals&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_352"&gt;&lt;span class="ldml-cite"&gt;Case No. 22CA1119&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-opinion content__heading content__heading--depth1" data-content-heading-label="Opinion"&gt;&lt;p data-paragraph-id="393" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="393" data-sentence-id="409" class="ldml-sentence"&gt;Petition
 and &lt;span class="ldml-entity"&gt;Cross-Petition for Writ&lt;/span&gt; of Certiorari DENIED.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="474" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="474" data-sentence-id="491" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;CHIEF
 JUSTICE &lt;span class="ldml-entity"&gt;BOATRIGHT&lt;/span&gt;&lt;/span&gt; would grant as to the following issues:&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="561" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="561" data-sentence-id="577" class="ldml-sentence"&gt;Whether
 the &lt;span class="ldml-entity"&gt;Colorado court of appeals&lt;/span&gt; erred as a matter of law when
 it concluded that individuals who submitted &lt;span class="ldml-entity"&gt;Request for
 Reconsideration&lt;/span&gt; Forms to a library meet the definition of a
 &lt;span class="ldml-quotation quote"&gt;"user"&lt;/span&gt; of a library &lt;span class="ldml-quotation quote"&gt;"service"&lt;/span&gt; as defined
 in &lt;span class="ldml-entity"&gt;section&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;24-72-204&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(VII)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2023&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_577"&gt;&lt;span class="ldml-cite"&gt;section
 24-90-119&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;, C.R.S &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2023&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="923" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="923" data-sentence-id="939" class="ldml-sentence"&gt;Whether
 the &lt;span class="ldml-entity"&gt;Colorado court of appeals&lt;/span&gt; erred as a matter of law in
 holding that identifying information of a person who submits
 a &lt;span class="ldml-entity"&gt;Request for Reconsideration&lt;/span&gt; Form to a library must be
 redacted from the form if it is produced under &lt;span class="ldml-entity"&gt;section&lt;/span&gt;
&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;24-72-204&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(VII)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2023&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, because the member of
 the public qualifies as a library &lt;span class="ldml-quotation quote"&gt;"user,"&lt;/span&gt; as such
 term is employed in that &lt;span class="ldml-entity"&gt;statute&lt;/span&gt; and &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_939"&gt;&lt;span class="ldml-cite"&gt;section 24-90-119&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,
 C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2023&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt;
&lt;/p&gt;&lt;p data-paragraph-id="1399" class="ldml-paragraph "&gt;
 &lt;span data-paragraph-id="1399" data-sentence-id="1415" class="ldml-sentence"&gt;Whether
 &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; erred as a matter of law in applying the
 rules of statutory construction by ignoring the plain meaning
 of and &lt;span class="ldml-entity"&gt;legislative intent&lt;/span&gt; for &lt;span class="ldml-entity"&gt;section&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;24-72-204&lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(VII)&lt;/span&gt;,
 C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2023&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_1415"&gt;&lt;span class="ldml-cite"&gt;section 24-90-119&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;, C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2023&lt;/span&gt;)&lt;/span&gt;, and
 instead construed &lt;span class="ldml-entity"&gt;these statutes&lt;/span&gt; in a manner that engrafts an
 overly broad, impracticable, and absurd construction that the
 Colorado General Assembly could not have intended.&lt;/span&gt;
&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
 &lt;/div&gt;
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